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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO



VERONICA LASSITER,

       Plaintiff,
v.                                                             No. 2:17-CV-00850-JCH-SMV

HIDALGO MEDICAL SERVICES, and,
DAN OTERO,

       Defendants.

                                STIPULATION OF DISMISSAL

       Pursuant to an agreement of compromise and settlement and Fed. R. Civ. P.

41(a)(1)(A)(ii), Plaintiff hereby stipulates to the dismissal of all claims with prejudice. The

parties shall each bear their own attorney’s fees and costs.


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